Case 1:21-cv-06702-LAK Document 54

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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VIRGINIA L. GIUFFRE,
Plaintiff,
~apainst-
ALAN DERSHOWITZ,
Defendant.
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VIRGINIA L. GIUFFRE,
Plaintiff,

-against-

PRINCE ANDREW, Duke of York, in his personal capacity,
also known as Andrew Albert Christian Edward,

Defendant.

ORDER

Filed 12/14/21 Page 1of1

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19-cv-3377 (LAP)

21-cv-6702 (LAK)

A document entitled as Settlement Agreement and General Release, said to have been executed by
the plaintiff in these actions and by the late Jeffrey Epstein, was filed under seal in No. 19-3377. No. 19-3377, Dkt.
334-1 (the “Document”). The same document has been submitted by the defendant in 2i-cv-6702 in support of his
motion to dismiss that case. Dkt. 21-6702, Dkt. 32-1. In light of the sealing order in the first action, it has been filed

under seal in the second.

Mr. Epstein, as is well known, is deceased. The Document is well known to Ms. Giuffre and,
although under seal, has been available to all parties in these cases for some time. We question whether any proper
purpose would be served by the continued secrecy of the Document save, perhaps, the dollar amount of the settlement

it provided for.

Accordingly, in the absence of a showing, on or before December 22, 2021, of good cause by a party
to either of these actions or by a duly authorized executor, administrator, or other representative of the Estate Mr.
Epstein, the Court will file the entire Document on the public record on or about January 3, 2022.

SO ORDERED.
Dated: December 14, 2021

és/ Loretta A. Preska

 

Loretta A. Preska
United States District Judge

/s/ Lewis A. Kaplan

 

Lewis A, Kaplan
United States District Judge

 
